                                                                              ORDER:
                                                                              Motion DENIED.


                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                   U.S. Magistrate Judge
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )       NO. 3:14-cr-00090
              v.                            )
                                            )
[2] LONALD ECTOR                            )
      a/k/a “J.R.”                          )

GOVERNMENT’S MOTION TO RECONSIDER THE COURT’S ORDER TO
               “REOPEN” DETENTION HEARING

       The United States, by and through David Rivera, United States Attorney for the Middle

District of Tennessee, and Matthias D. Onderak, Assistant United States Attorney, hereby move

the Court to reconsider the order “reopening” the detention hearing and responds as follows to

Docket Entry 361:

       On June 27, 2014, the defendant, Lonald Ector (“Defendant”) was arrested in the Central

District of California and brought before Magistrate Judge Carla Woehrle.     That same day, the

Magistrate Judge arraigned the defendant.       Defendant did not reserve his right to have a

detention hearing, but opted to have the hearing heard in the Central District of California.   A

detention hearing was held and Defendant was ordered detained pending trial.      On September

18, 2014, Defendant moved to revoke or reconsider the order of detention because his family

moved to the Middle District of Tennessee and his trial was continued (Docket Entry 345).       On

September 19, 2014, the District Court referred Defendant’s motion to the Magistrate Court with

instructions “to determine if the detention hearing should be reopened pursuant to 18:3142(f)(2)

and if so, to hold a hearing” (Docket Entry 348).    The government responded in opposition to

reopening the detention hearing because Defendant did not allege new and material information




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